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                      UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

IN RE:                                            CHAPTER 13

ANTHONY WAYNE STANSBERRY and
JENNIFER LYNN STANSBERRY,                         CASE NUMBER 8:14-bk-13668-KRM

____________________________________/

                 TRUSTEE’S UNFAVORABLE RECOMMENDATION
                  CONCERNING CONFIRMATION OF THE PLAN

TO: Clerk, United States Bankruptcy Court

         Trustee’s Recommendation to the Court.            The Trustee cannot recommend

confirmation of the Chapter 13 Plan at this time for the following reason(s):

         The Trustee cannot favorably recommend confirmation of this Plan as it does not

appear that the Debtors have dedicated all disposable income to the proposed Plan as required

by 11 U.S.C. §1325(b)(1)(B).

         The Debtors must provide complete copies of all tax return(s) to the Trustee’s office

no later than April 15th of each year for the preceding year’s taxes and all tax refunds must be

committed to the Plan for each year during the applicable plan period, beginning with the tax

year 2014. The Debtors should not spend ANY tax refund without prior court approval

because they may be required to turn over the refund to the Trustee in addition to regular

Plan payments.

         According to Schedules I and J, it does not appear that the Debtors have sufficient

disposable income to fund the proposed Plan as required by 11 U.S.C. §1325(a)(6). An

amended budget must be filed.
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        The Plan violates 11 U.S.C. §1325(a)(4) because it does not pay unsecured creditors

the value of what they would receive in a case under Chapter 7.

        The Trustee hereby requests/has requested the following additional documents to

determine if the Debtors have met the best interests of creditors test:

    •   Income tax returns for 2014.

        Dated this 14th day of January, 2015.

                                                        /S/ Kelly Remick
                                                        Kelly Remick
                                                        Chapter 13 Standing Trustee
                                                        Post Office Box 6099
                                                        Sun City Center, FL 33571-6099
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KR/do
